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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW HAMPSHIRE

    DEBRA M. ADAMS, DANILLIE L.     )
    MARS, MICHELLE L. MILLER and    )
    ANITA W. DAME, individually and on
                                    )                     CIVIL ACTION NO.: _____________
    behalf of all others similarly situated,
                                    )
                                    )
                         Plaintiff, )                     CLASS ACTION COMPLAINT
               v.                   )
                                    )
    DARTMOUTH-HITCHCOCK CLINIC,     )
    THE BOARD OF TRUSTEES OF        )
    DARTMOUTH-HITCHCOCK CLINIC,     )
    THE ADMINISTRATIVE INVESTMENT )
    OVERSIGHT COMMITTEE OF          )
    DARTMOUTH-HITCHCOCK CLINIC and )
    JOHN DOES 1-30.                 )

                                  Defendants.

                                CLASS ACTION COMPLAINT

        Plaintiffs, Debra M. Adams, Danillie L. Mars, Michelle L. Miller and Anita W. Dame,

(“Plaintiffs”), by and through their attorneys, on behalf of the Dartmouth-Hitchcock Retirement

Plan and the Dartmouth-Hitchcock Employee Investment Plan (the “Plans”),1 themselves and all

others similarly situated, state and allege as follows:

                                  I.      INTRODUCTION

        1.      This is a class action brought pursuant to §§ 409 and 502 of the Employee

Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. §§ 1109 and 1132, against the

Plans’ fiduciaries, which include Dartmouth-Hitchcock Clinic (“Dartmouth” or “Company”) and

the Board of Trustees of Dartmouth-Hitchcock Clinic and its members during the Class Period



1
 The Plans are legal entities that can sue and be sued. ERISA § 502(d)(1), 29 U.S.C. § 1132(d)(1).
However, in a breach of fiduciary duty action such as this, the Plans are not a party. Rather,
pursuant to ERISA § 409, and the law interpreting it, the relief requested in this action is for the
benefit of the Plans and their participants. The Dartmouth-Hitchcock Retirement Plan when
discussed individually will be referred to as the (“401(a) Plan”) and the Dartmouth-Hitchcock
Employee Investment Plan when discussed individually will be referred to as the (“403(b) Plan”).
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(“Board”)2 and The Administrative Investment Oversight Committee of Dartmouth-Hitchcock

Clinic and its members during the Class Period (“Committee”).

       2.      To safeguard Plan participants and beneficiaries, ERISA imposes strict fiduciary

duties of loyalty and prudence upon employers and other plan fiduciaries. Fiduciaries must act

“solely in the interest of the participants and beneficiaries,” 29 U.S.C. § 1104(a)(1)(A), with the

“care, skill, prudence, and diligence” that would be expected in managing a plan of similar scope.

29 U.S.C. § 1104(a)(1)(B). These twin fiduciary duties are “the highest known to the law.” Moitoso

v. FMR LLC, 451 F.Supp.3d 189, 204 (D. Mass. Mar. 27, 2020) (quoting Braden v. Wal-mart

Stores, Inc., 588 F.3d 585, 595 (8th Cir. 2009).

       3.      The Department of Labor has explicitly stated that employers are held to a “high

standard of care and diligence” and must, among other duties, both “establish a prudent process

for selecting investment options and service providers” and “monitor investment options and

service providers once selected to see that they continue to be appropriate choices.” See, “A Look

at 401(k) Plan Fees,” infra, at n.3; see also Tibble v. Edison Int’l, 135 S. Ct. 1823, 1823 (2015)

(Tibble I) (reaffirming the ongoing fiduciary duty to monitor a plan’s investment options).

       4.      Under 29 U.S.C. § 1104(a)(1), a plan fiduciary must give substantial consideration

to the cost of investment options. “Wasting beneficiaries’ money is imprudent. In devising and

implementing strategies for the investment and management of trust assets, trustees are obligated

to minimize costs.” Uniform Prudent Investor Act (the “UPIA”), § 7.

       5.      “The Restatement … instructs that ‘cost-conscious management is fundamental to

prudence in the investment function,’ and should be applied ‘not only in making investments but




2
  As will be discussed in more detail below, the Class Period is defined as March 18, 2016 through
the date of judgment (“Class Period”).
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also in monitoring and reviewing investments.’” Tibble v. Edison Int’l, 843 F.3d 1187, 1197-98

(9th Cir. 2016) (en banc) (quoting Restatement (Third) of Trusts, § 90, cmt. b) (“Tibble II”).3

       6.      Additional fees of only 0.18% or 0.4% can have a large effect on a participant’s

investment results over time because “[b]eneficiaries subject to higher fees … lose not only money

spent on higher fees, but also lost investment opportunity; that is, the money that the portion of

their investment spent on unnecessary fees would have earned over time.” Tibble II, 843 F.3d at

1198 (“It is beyond dispute that the higher the fees charged to a beneficiary, the more the

beneficiary’s investment shrinks.”).

       7.      The Supreme Court recently reiterated that interpreting “ERISA’s duty of prudence

in light of the common law of trusts” a fiduciary “has a continuing duty of some kind to monitor

investments and remove imprudent ones” and a plaintiff may allege that a fiduciary breached the

duty of prudence by failing to properly monitor investments and remove imprudent ones. Hughes

v. Northwestern Univ., 2022 WL 19935, at *3 (2022).

       8.      Because cost-conscious management is fundamental to prudence in the investment

function the concept applies to a fiduciary’s obligation to continuously monitor all fees incurred

by plan participants, including a plan’s recordkeeping and administration fees.

       9.      At all times during the Class Period, the Plans had at least $1.2 billion dollars

combined in assets under management. At the Plans’ fiscal year end in 2020 and 2019, the

combined Plans had over $1.9 billion dollars and $1.6 billion dollars, respectively, in assets under

management that were/are entrusted to the care of the Plans’ fiduciaries. The December 31, 2020

Report of Independent Auditor of the Dartmouth Management Corporation Retirement Plan



3
  See also U.S. Dep’t of Labor, A Look at 401(k) Plan Fees, (Aug. 2013), at 2, available at
https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-activities/resource-
center/publications/a-look-at-401k-plan-fees.pdf (last visited February 21, 2020) (“You should be
aware that your employer also has a specific obligation to consider the fees and expenses paid by
your plan.”).
                                                3
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(“2020 Auditor Report for the 401(a) Plan”) at 3 and the December 31, 2020 Report of Independent

Auditor Dartmouth-Hitchcock Employee Investment Plan filed with the United States Department

of Labor (“2020 Auditor Report for the 403(b) Plan”) at 3.

       10.     The Plans’ assets under management qualifies it as a jumbo plan in the defined

contribution plan marketplace, and among the largest plans in the United States. As a jumbo plan,

the Plans had substantial bargaining power regarding the fees and expenses that were charged

against participants’ investments. Defendants, however, did not try to reduce the Plans’ expenses

or exercise appropriate judgment to scrutinize each investment option that was offered in the Plans

to ensure it was prudent.

       11.     Plaintiffs allege that during the putative Class Period, Defendants, as “fiduciaries”

of the Plan, as that term is defined under ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A), breached

the duties they owed to the Plans, to Plaintiffs, and to the other participants of the Plans by, inter

alia, (1) failing to objectively and adequately review the Plans’ investment portfolios with due

care to ensure that each investment option was prudent, in terms of cost; and (2) failing to control

the Plan’s recordkeeping and administration costs.

       12.      Defendants’ mismanagement of the Plans, to the detriment of participants and

beneficiaries, constitutes a breach of the fiduciary duty of prudence, in violation of 29 U.S.C. §

1104. Their actions were contrary to actions of a reasonable fiduciary and cost the Plans and its

participants millions of dollars.

       13.     Based on this conduct, Plaintiffs assert claims against Defendants for breach of the

fiduciary duty of prudence (Count One) and failure to monitor fiduciaries (Count Two).

                                IV. JURISDICTION AND VENUE
       14.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 because it is a civil action arising under the laws of the United States, and pursuant to 29



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U.S.C. § 1332(e)(1), which provides for federal jurisdiction of actions brought under Title I of

ERISA, 29 U.S.C. § 1001, et seq.

       15.     This Court has personal jurisdiction over Defendants because they transact business

in this District, reside in this District, and/or have significant contacts with this District, and

because ERISA provides for nationwide service of process.

       16.     Venue is proper in this District pursuant to ERISA § 502(e)(2), 29 U.S.C.

§ 1132(e)(2), because some or all of the violations of ERISA occurred in this District and

Defendants reside and may be found in this District. Venue is also proper in this District pursuant

to 28 U.S.C. § 1391 because Defendants do business in this District and a substantial part of the

events or omissions giving rise to the claims asserted herein occurred within this District.

                                          V. PARTIES

             Plaintiffs

       17.      Plaintiff, Debra M. Adams (“Adams”), resides in Canaan, New Hampshire. During

her employment, Plaintiff Adams participated in the Plan investing in the options offered by the

Plan and the subject of this Complaint and was also subject to the excessive administration and

recordkeeping costs alleged below.

       18.      Plaintiff, Danillie L. Mars (“Mars”), resides in Claremont, New Hampshire.

During her employment, Plaintiff Mars participated in the Plan investing in the options offered by

the Plan and the subject of this Complaint and was also subject to the excessive administration and

recordkeeping costs alleged below.

       19.     Plaintiff, Michelle L. Miller (“Miller”), resides in Buskirk, New York. During her

employment, Plaintiff Miller participated in the Plan investing in the options offered by the Plan

and the subject of this Complaint and was also subject to the excessive administration and

recordkeeping costs alleged below.



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        20.     Plaintiff, Anita W. Dame (“Dame”), resides in Manchester, New Hampshire.

During her employment, Plaintiff Dame participated in the Plan investing in the options offered

by the Plan and the subject of this Complaint and was also subject to the excessive administration

and recordkeeping costs alleged below.

        21.     Plaintiffs have standing to bring this action on behalf of the Plans because they

participated in the Plans and were injured by Defendants’ unlawful conduct. Plaintiffs are entitled

to receive benefits in the amount of the difference between the value of their account currently, or

as of the time their accounts were distributed, and what their accounts are or would have been

worth, but for Defendants’ breaches of fiduciary duty as described herein.

        22.     Plaintiffs did not have knowledge of all material facts (including, among other

things, total plan recordkeeping and administration cost comparisons to similarly-sized plans or

information regarding other available funds) necessary to understand that Defendants breached

their fiduciary duties and engaged in other unlawful conduct in violation of ERISA until shortly

before this suit was filed.

        Defendants

              Company Defendant

        23.     Dartmouth acts as the sponsor for the Plans and a named fiduciary for the Plans

with a principal place of business being One Medical Center Drive, Lebanon, New Hampshire.

The December 31, 2020 Form 5500 of the Dartmouth-Hitchcock Retirement Plan filed with the

United States Department of Labor (“2020 Form 5500 for the 401(a) Plan”) at 1 and the

Dartmouth-Hitchcock Employee Investment Plan filed with the United States Department of Labor

(“2020 Form 5500 for the 403(b) Plan”) at 1. Dartmouth describes itself as “New Hampshire’s

only academic health system and the state’s largest private employer. D-HH serves a population




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of 1.9 million patients across northern New England and provides access to more than 1,800

providers in almost every area of medicine.4”

       24.     Dartmouth appointed the Committee to, among other things, ensure that the

investments available to the Plans’ participants are appropriate, had no more expense than

reasonable and performed well as compared to their peers and that the Plans paid a fair price for

recordkeeping and administrative services. Dartmouth-Hitchcock Retirement Plan, 401(a) Plan, as

amended and restated January 1, 2018 (“401(a) Plan Doc.”) at 40.5 As will be discussed below,

the Committee fell well short of these fiduciary goals. Under ERISA, fiduciaries with the power

to appoint have the concomitant fiduciary duty to monitor and supervise their appointees.

       25.     Accordingly, Dartmouth during the putative Class Period is/was a fiduciary of the

Plans, within the meaning of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A) because it had a

duty to monitor the actions of the Committee.

       26.     For the foregoing reasons, the Company is a fiduciary of the Plans, within the

meaning of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A).

       Board Defendants

       27.      Dartmouth, acting through its Board of Directors, appointed the Committee to,

among other things, ensure that the investments available to the Plans’ participants are appropriate,

had no more expense than reasonable and performed well as compared to their peers and that the

Plans paid a fair price for recordkeeping and administrative services. 401(a) Plan Doc. at 40. Under

ERISA, fiduciaries with the power to appoint have the concomitant fiduciary duty to monitor and

supervise their appointees.




4
  https://www.dartmouth-hitchcock.org/about last accessed on February 28, 2022.
5
  It’s believed that the Plan Document for the 403(b) Plan contains similar language. For this
reason, when the Plan Document for the 401(a) Plan is referenced, it will apply to both the
401(a) Plan and the 403(b) Plan.
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       28.     Accordingly, each member of the Board during the putative Class Period (referred

to herein as John Does 1-10) is/was a fiduciary of the Plan, within the meaning of ERISA Section

3(21)(A), 29 U.S.C. § 1002(21)(A) because each had a duty to monitor the actions of the

Committee.

       29.     The Board and the unnamed members of the Board during the Class Period

(referred to herein as John Does 1-10), are collectively referred to herein as the “Board

Defendants.”

       Committee Defendants

       30.     A discussed above, Dartmouth appointed the Committee to, among other things,

ensure that the investments available to the Plans’ participants are appropriate, had no more

expense than reasonable and performed well as compared to their peers and that the Plans paid a

fair price for recordkeeping and administrative services. 401(a) Plan Doc. at 40.

       31.     More specifically, as stated in the 401(a) Plan Doc., the Committee is responsible

for, among other things, “the appointment, removal and replacement of one or more Investment

Managers, or election to refrain from such appointments.” Id. Further the Committee is responsible

for “the monitoring of Investment Managers against performance measures set forth in the funding

policy.” Id. As will be discussed below, the Committee fell well short of these goals as a fiduciary

to plan participants.

       32.     The Committee and each of its members were fiduciaries of the Plans during the

Class Period, within the meaning of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A) because

each exercised discretionary authority over management or disposition of the Plans’ assets.

       33.     The Committee and unnamed members of the Committee during the Class Period

(referred to herein as John Does 11-20), are collectively referred to herein as the “Committee

Defendants.”

       Additional John Doe Defendants
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       34.     To the extent that there are additional officers, employees and/or contractors of

Dartmouth who are/were fiduciaries of the Plans during the Class Period, or were hired as an

investment manager for the Plans during the Class Period, the identities of whom are currently

unknown to Plaintiffs, Plaintiffs reserve the right, once their identities are ascertained, to seek

leave to join them to the instant action. Thus, without limitation, unknown “John Doe” Defendants

21-30 include, but are not limited to, Dartmouth officers, employees and/or contractors who

are/were fiduciaries of the Plans within the meaning of ERISA Section 3(21)(A), 29 U.S.C. §

1002(21)(A) during the Class Period.

                               VI. CLASS ACTION ALLEGATIONS

       35.     Plaintiffs bring this action as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure on behalf of themselves and the following proposed class (“Class”):6

               All persons, except Defendants and their immediate family
               members, who were participants in or beneficiaries of the
               Plan, at any time between March 18, 2016 through the date
               of judgment (the “Class Period”).

       36.     The members of the Class are so numerous that joinder of all members is

impractical. The 2020 Forms 5500 combined for the 401(a) and the 403(b) Plans lists 31,256

“participants with account balances as of the end of the plan year.” 2020 Form 5500 for the 401(a)

Plan at 2 and the 2020 Form 5500 for the 403(b) Plan at 2. In addition, the Defendants refer to

both the 401(a) Plan and the 403(b) Plan as being Dartmouth’s “Retirement Program.” 2020

Auditor Report for the 403(b) Plan at 5. This is further evidence that the Plans should be treated

as a singular Plan for the purposes of this Complaint. In addition, plan participant statements

provide information on the 401(a) Plan and the 403(b) Plan in a single columnar format which is




6
  Plaintiffs reserve the right to propose other or additional classes or subclasses in their motion for
class certification or subsequent pleadings in this action.
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further evidence the Plans are administered as a nearly single entity. Further, the Plans have the

same recordkeeper and a nearly identical fund line up for investment by the Plans’ participants.

        37.     Plaintiffs’ claims are typical of the claims of the members of the Class. Like other

Class members, Plaintiffs participated in the Plans and have suffered injuries as a result of

Defendants’ mismanagement of the Plans. Defendants treated Plaintiffs consistently with other

Class members and managed the Plans as a single entity. Plaintiffs’ claims and the claims of all

Class members arise out of the same conduct, policies, and practices of Defendants as alleged

herein, and all members of the Class have been similarly affected by Defendants’ wrongful

conduct.

        38.     There are questions of law and fact common to the Class, and these questions

predominate over questions affecting only individual Class members. Common legal and factual

questions include, but are not limited to:

                A.     Whether Defendants are/were fiduciaries of the Plans;

                B.     Whether Defendants breached their fiduciary duty of prudence by

                       engaging in the conduct described herein;

                C.     Whether the Company and Board Defendants failed to adequately monitor

                       the Committee and other fiduciaries to ensure the Plans were being managed

                       in compliance with ERISA;

                D.     The proper form of equitable and injunctive relief; and

                E.     The proper measure of monetary relief.

        39.     Plaintiffs will fairly and adequately represent the Class and have retained counsel

experienced and competent in the prosecution of ERISA class action litigation. Plaintiffs have no

interests antagonistic to those of other members of the Class. Plaintiffs are committed to the

vigorous prosecution of this action and anticipate no difficulty in the management of this litigation

as a class action.
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        40.     This action may be properly certified under Rule 23(b)(1). Class action status in

this action is warranted under Rule 23(b)(1)(A) because prosecution of separate actions by the

members of the Class would create a risk of establishing incompatible standards of conduct for

Defendants. Class action status is also warranted under Rule 23(b)(1)(B) because prosecution of

separate actions by the members of the Class would create a risk of adjudications with respect to

individual members of the Class that, as a practical matter, would be dispositive of the interests of

other members not parties to this action, or that would substantially impair or impede their ability

to protect their interests.

        41.     In the alternative, certification under Rule 23(b)(2) is warranted because the

Defendants have acted or refused to act on grounds generally applicable to the Class, thereby

making appropriate final injunctive, declaratory, or other appropriate equitable relief with respect

to the Class as a whole.

                                       VII.    THE PLANS

        42.     The Plans are defined contribution plans covering substantially all eligible

employees of Dartmouth. 2020 Auditor Report for the 401(a) Plan at 5 and 2020 Auditor Report

for the 403(b) Plan at 5. More specifically, the Plan is a “defined contribution” or “individual

account” plan within the meaning of ERISA § 3(34), 29 U.S.C. § 1002(34), in that the Plan

provides for individual accounts for each participant and for benefits based solely upon the amount

contributed to those accounts, and any income, expense, gains and losses, and any forfeitures of

accounts of the participants which may be allocated to such participant’s account. 2020 Auditor

Report for the 401(a) Plan at 6 and 2020 Auditor Report for the 403(b) Plan at 6. Consequently,

retirement benefits provided by the Plan are based solely on the amounts allocated to each

individual’s account. Id.

        Eligibility



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       43.     In general, the Plans cover all employees of Dartmouth. 2020 Auditor Report for

the 401(a) Plan at 5 and 2020 Auditor Report for the 403(b) Plan at 5.

       Contributions

       44.     There are several types of contributions that can be added to a participant’s account,

including: an employee salary deferral contribution, an employee Roth 401(k) contribution, an

employee after-tax contribution, catch-up contributions for employees aged 50 and over, rollover

contributions, discretionary profit-sharing contributions and employer matching contributions

based on employee pre-tax, Roth 401(k), and employee after-tax contributions. 2020 Auditor

Report for the 401(a) Plan at 6 and 2020 Auditor Report for the 403(b) Plan at 6.

       45.     With regard to employee contributions, participants can elect to make annual pre-

tax and Roth contributions subject to Internal Revenue Service (‘IRS’) limitations. Id. With regard

to matching contributions made by Dartmouth, Dartmouth does provide a contribution of a portion

of eligible compensation. 2020 Auditor Report for the 403(b) Plan at 6.

       46.     Like other companies that sponsor 401(k), 401(a) and/or 403(b) plans for their

employees, Dartmouth enjoys both direct and indirect benefits by providing matching

contributions to Plan participants. Employers are generally permitted to take tax deductions for

their contributions to the plans at the time when the contributions are made. See generally,

https:/www.irs.gov/retirement-plans/plan-sponsor/401k-plan-overview.

       47.     Dartmouth also benefits in other ways from the Plans’ matching program. It is

well-known that “[o]ffering retirement plans can help in employers’ efforts to attract new

employees     and    reduce      turnover.”   See,   https://www.paychex.com/articles/employee-

benefits/employer-matching-401k-benefits.

       48.     Given the size of the Plan, Dartmouth likely enjoyed a significant tax and cost

savings from offering a match.

       Vesting
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        49.      With regard to contributions made by participants to the Plan, such contributions

vest immediately. 2020 Auditor Report at 6. Generally, contributions made by Dartmouth are

subject to a three-year vesting schedule. Id.

        The Plan’s Investments

        50.      In theory, the Committee determines the appropriateness of the Plan’s investment

offerings, monitors investment performance, reviews total plan and fund costs each year and

recordkeeping and administrative costs each year. Plan Doc. at 40. As will be discussed in more

detail below, the Committee fell well short of these fiduciary goals.

        51.      Several funds were available to Plan participants for investment each year during

the putative Class Period. Specifically, a participant may direct all contributions to selected

investments as made available and determined by the Committee.

        52.      The Plans’ combined assets under management for all funds as of December 31,

2020 was $1,937,157,268. 2020 Auditor Report for the 401(a) Plan at 3 and 2020 Auditor Report

for the 403(b) Plan at 3.

        Payment of Plan Expenses

        53.      During the Class Period, administrative and recordkeeping expenses were generally

paid using a combination of charges to the participants and Plan assets. 2020 Auditor Report for

the 401(a) Plan at 9 and 2020 Auditor Report for the 403(b) Plan at 9.

 VIII. THE PLAN’S FEES DURING THE CLASS PERIOD WERE UNREASONABLE

              A. The Totality of the Circumstances Demonstrates that the Plan Fiduciaries
                 Failed to Administer the Plan in a Prudent Manner

        54.      As described in the “Parties” section above, Defendants were fiduciaries of the

Plan.

        55.      ERISA “imposes a ‘prudent person’ standard by which to measure fiduciaries’

investment decisions and disposition of assets.” Fifth Third Bancorp v. Dudenhoeffer, 134 S. Ct.

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2459, 2467 (2014) (quotation omitted). In addition to a duty to select prudent investments, under

ERISA, a fiduciary “has a continuing duty to monitor [plan] investments and remove imprudent

ones” that exists “separate and apart from the [fiduciary’s] duty to exercise prudence in selecting

investments.” Tibble I, 135 S. Ct. at 1828; see also Hughes, 2022 WL 19935, at *3.

       56.     Plaintiffs did not have and do not have actual knowledge of the specifics of

Defendants’ decision-making process with respect to the Plan, including Defendants’ processes

(and execution of such) for selecting, monitoring, and removing Plan investments or monitoring

recordkeeping and administration costs, because this information is solely within the possession

of Defendants prior to discovery. See Braden v. Wal-mart Stores, Inc., 588 F.3d 585, 598 (8th Cir.

2009) (“If Plaintiffs cannot state a claim without pleading facts which tend systematically to be in

the sole possession of defendants, the remedial scheme of [ERISA] will fail, and the crucial rights

secured by ERISA will suffer.”)

       57.     In fact, in an attempt to discover the details of the Plans’ mismanagement, on April

30, 2021, Plaintiffs wrote to Dartmouth requesting, inter alia, meeting minutes from the

Committee related to the Plans. By correspondence dated May 27, 2021, Dartmouth did not

acknowledge whether it kept Committee meeting minutes and, more importantly, did not provide

any minutes in response to Plaintiffs’ request.

       58.     Reviewing meeting minutes, when they exist, is the bare minimum needed to peek

into a fiduciary’s monitoring process. But in most cases, even that is not sufficient. For, “[w]hile

the absence of a deliberative process may be enough to demonstrate imprudence, the presence of

a deliberative process does not … suffice in every case to demonstrate prudence. Deliberative

processes can vary in quality or can be followed in bad faith. In assessing whether a fiduciary

fulfilled her duty of prudence, we ask ‘whether a fiduciary employed the appropriate methods to

investigate and determine the merits of a particular investment,’ not merely whether there were



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any methods whatsoever.” Sacerdote et al. v. New York Univ., 9 F.4th 95, 111 (2d Cir. 2021)

(emphasis in original).

       59.     For purposes of this Complaint, Plaintiffs have drawn reasonable inferences

regarding these processes based upon several factors.

       60.     For example, Defendants did not adhere to fiduciary best practices to control the

Plans’ costs when looking at certain aspects of the Plans’ administration such as monitoring

investment management fees for the Plans’ investments, resulting in several funds during the Class

Period being more expensive than comparable funds found in similarly sized plans (conservatively,

plans having over 1 billion dollars in assets).

       61.     With regard to investments like mutual funds, like any other investor, retirement

plan participants pay for these costs via the fund’s expense ratio evidenced by a percentage of

assets. For example, an expense ratio of .75% means that the plan participant will pay $7.50

annually for every $1,000 in assets. However, the expense ratio also reduces the participant’s

return and the compounding effect of that return. This is why it is prudent for a plan fiduciary to

consider the effect that expense ratios have on investment returns because it is in the best interest

of participants to do so.

       62.     As stated by the DOL: ERISA “requires plan fiduciaries, when selecting and

monitoring service providers and plan investments, to act prudently and solely in the interest of

the plan’s participants and beneficiaries. Responsible plan fiduciaries also must ensure that

arrangements with their service providers are ‘reasonable’ and that only ‘reasonable’

compensation is paid for services…” DOL 408(b)(2) Regulation Fact Sheet.




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         63.      “The duty to pay only reasonable fees for plan services and to act solely in the best

interest of participants has been a key tenet of ERISA since its passage.” “Best Practices for Plan

Fiduciaries,” at 36, published by Vanguard, 2019.7

         64.      Here, Defendants could not have engaged in a prudent process as it relates to

evaluating investment management fees.

         65.       Four of the funds which appear in both the 401(a) and 403(b) Plan, will be analyzed

below as examples of imprudently selected funds. The expense ratio for one of these funds during

the Class Period was 150% above the ICI Median (in the case of Sound Shore Institutional) and in

another case the expense ratio was 123% above the ICI Median (in the case of T. Rowe Price Instl

Small-Cap Stock) in the same category. The high cost of the Plans’ funds is also evident when

comparing the Plans’ funds to the average fees of funds in similarly-sized plans. These excessively

high expense ratios are detailed in the charts below:

                                           ICI Median Chart
                                                2021 Exp
                    Current Fund                            Investment Style          ICI Median
                                                  Ratio
       T. Rowe Price Instl Small-Cap Stock         0.67 %       Domestic Equity          0.30%
               Sound Shore Institutional           0.75 %       Domestic Equity          0.30%
           T.Rowe Price Equity Income              0.64 %       Domestic Equity          0.30%

        Harbor Diversified Intl All Cp Instl       0.80 %      International Equity      0.50%

         66.      The high cost of the Plans’ funds is even more stark when comparing the Plans’

funds to the average fees of funds in similarly-sized plans:

                                           ICI Average Chart
                                                2021 Exp
                   Current Fund                            Investment Style           ICI Average
                                                  Ratio
      T. Rowe Price Instl Small-Cap Stock        0.67 %        Domestic Equity          0.34%

            Sound Shore Institutional            0.75 %        Domestic Equity          0.34%


7
    Available at https://institutional.vanguard.com/iam/pdf/FBPBK.pdf?cbdForceDomain=false.
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                                       ICI Average Chart
                                            2021 Exp
               Current Fund                            Investment Style          ICI Average
                                              Ratio
        T.Rowe Price Equity Income            0.64 %       Domestic Equity           0.34%

     Harbor Diversified Intl All Cp Instl     0.80 %     International Equity        0.49%

       67.     It is unlikely the Defendants engaged in a prudent process from 2016 through 2020

since the Plans contained at least four funds that had excessive expense ratios when compared to

their peers from 2016 to 2020.

       68.     Defendants’ failure to obtain reasonably-priced and properly performing

investments from 2016 to 2020 is circumstantial evidence of their imprudent process to review

and control the Plans’ costs and is indicative of Defendants’ breaches of their fiduciary duties,

relating to their overall decision-making, which resulted in the payment of excessive

recordkeeping and administration fees – the crux of this lawsuit - that wasted the assets of the

Plans and the assets of participants because of unnecessary costs.

       (B)     The Plans’ Recordkeeping and Administrative Costs Were Excessive
               During The Class Period

       69.     Another clear indication of Defendants’ imprudent fee monitoring process was the

excessive recordkeeping and administrative fees the Plans’ participants were required to pay

during the Class Period.

       70.     The term “recordkeeping” is a catchall term for the suite of administrative services

typically provided to a defined contribution plan by the plan’s “recordkeeper.” Recordkeeping

and administrative services fees are one and the same and the terms are used synonymously herein.

       71.     There are two types of essential recordkeeping services provided by all national

recordkeepers for large plans with substantial bargaining power (like the Plans). First, an overall

suite of recordkeeping services is provided to large plans as part of a “bundled” fee for a buffet




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style level of service (meaning that the services are provided, in retirement industry parlance, on

an “all-you-can-eat” basis), including, but not limited to, the following services:

           A. Recordkeeping;

           B. Transaction processing (which includes the technology to process purchases and

               sales of participants’ assets, as well as providing the participants access to

               investment options selected by the plan sponsor);

           C. Administrative services related to converting a plan from one recordkeeper to

               another;

           D. Participant communications (including employee meetings, call centers/phone

               support, voice response systems, web account access, and the preparation of other

               materials distributed to participants, e.g., summary plan descriptions);

           E. Maintenance of an employer stock fund (if needed);

           F. Plan document services, which include updates to standard plan documents to

               ensure compliance with new regulatory and legal requirements;

           G. Plan consulting services, including assistance in selecting the investment lineup

               offered to participants;

           H. Accounting and audit services, including the preparation of annual reports, e.g.,

               Form 5500s8 (excluding the separate fee charged by an independent third-party

               auditor);

           I. Compliance support, including assistance interpreting plan provisions and ensuring

               the operation of the plan is in compliance with legal requirements and the

               provisions of the plan (excluding separate legal services provided by a third-party

               law firm); and


8
The Form 5500 is the annual report that 401(k) plans are required to file with the DOL and U.S.
Department of Treasury pursuant to the reporting requirements of ERISA.
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             J. Compliance testing to ensure the plan complies with U.S. Internal Revenue Service

                nondiscrimination rules.

       72.      This suite of essential recordkeeping services can be referred to as “Bundled”

services. These services are offered by all recordkeepers for one price (typically at a per capita

price), regardless of the services chosen or utilized by the plan. The services chosen by a large

plan do not affect the amount charged by recordkeepers for such basic and fungible services.

       73.      The second type of essential recordkeeping services, hereafter referred to as “A La

Carte” services, provided by all national recordkeepers, often has separate, additional fees based

on the conduct of individual participants and the usage of the services by individual participants.

These fees are distinct from the bundled arrangement described above to ensure that one participant

is not forced to help another cover the cost of, for example, taking a loan from their plan account

balance. These A La Carte services typically include, but are not limited to, the following:

             A. Loan processing;

             B. Brokerage services/account maintenance (if offered by the plan);

             C. Distribution services; and

             D. Processing of qualified domestic relations orders.

       74.      All national recordkeepers have the capability to provide all of the aforementioned

recordkeeping services at very little cost to all large defined contribution plans, including those

much smaller than the Plans. In fact, several of the services, such as managed account services,

self-directed brokerage, Qualified Domestic Relations Order processing, and loan processing are

often a profit center for recordkeepers.

       75.      The cost of providing recordkeeping services often depends on the number of

participants in a plan. Plans with large numbers of participants can take advantage of economies

of scale by negotiating a lower per-participant recordkeeping fee.        Because recordkeeping



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expenses are driven by the number of participants in a plan, the vast majority of plans are charged

on a per-participant basis.

        76.     Recordkeeping expenses can either be paid directly from plan assets, or indirectly

by the plan’s investments in a practice known as revenue sharing (or a combination of both or by

a plan sponsor). Revenue sharing payments are payments made by investments within the plan,

typically mutual funds, to the plan’s recordkeeper or to the plan directly, to compensate for

recordkeeping and trustee services that the mutual fund company otherwise would have to provide.

        77.     Although utilizing a revenue sharing approach is not per se imprudent, unchecked,

it is devastating for Plan participants (e.g., see allegations infra). “At worst, revenue sharing is a

way to hide fees. Nobody sees the money change hands, and very few understand what the total

investment expense pays for. It’s a way to milk large sums of money out of large plans by charging

a percentage-based fee that never goes down (when plans are ignored or taken advantage of). In

some cases, employers and employees believe the plan is ‘free’ when it is in fact expensive.” Justin

Pritchard, “Revenue Sharing and Invisible Fees” available at http://www.cccandc.com/p/revenue-

sharing-and-invisible-fees (last visited January 17, 2021).

        78.     In order to make an informed evaluation as to whether a recordkeeper or other

service provider is receiving no more than a reasonable fee for the services provided to a plan, a

prudent fiduciary must identify all fees, including direct compensation and revenue sharing being

paid to the plan’s recordkeeper. To the extent that a plan’s investments pay asset-based revenue

sharing to the recordkeeper, prudent fiduciaries monitor the amount of the payments to ensure that

the recordkeeper’s total compensation from all sources does not exceed reasonable levels, and

require that any revenue sharing payments that exceed a reasonable level be returned to the plan

and its participants.

        79.     In this matter, using a combination of a flat recordkeeping charge paid by

participants with revenue sharing used to potentially cover additional fees resulted in a worst-case
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scenario for the Plans’ participants because it saddled the Plans’ participants with above-market

recordkeeping fees.

         80.      Further, a plan’s fiduciaries must remain informed about overall trends in the

marketplace regarding the fees being paid by other plans, as well as the recordkeeping rates that

are available by conducting a Request for Proposal (“RFP”) in a prudent manner to determine if

recordkeeping and administrative expenses appear high in relation to the general marketplace, and

specifically, of like-situated plans. More specifically, an RFP should happen every three to five

years. George v. Kraft Foods Glob., Inc., 641 F.3d 786, 800 (7th Cir. 2011); Kruger v. Novant

Health, Inc., 131 F. Supp. 3d 470, 479 (M.D.N.C. 2015).

         81.      Because the Plans paid yearly amounts in recordkeeping fees that were well above

industry standards each year over the Class Period, there is little to suggest that Defendants

conducted an appropriate RFP at reasonable intervals – or certainly at any time prior to 2016

through the present - to determine whether the Plans could obtain better recordkeeping and

administrative fee pricing from other service providers given that the market for recordkeeping is

highly competitive, with many vendors equally capable of providing a high-level service.

         82.      Looking at all the years during the Class Period, it’s clear these unreasonably high

recordkeeping costs continued throughout the Class Period. As demonstrated in the chart below,

the Plans’ per participant administrative and recordkeeping fees were significantly above market

rates when benchmarked against similar plans.

                                             401(a) Plan
                             RK Direct
               Participants T Rowe Price RK Indirect            Credit      Total Comp       $PP
                              15 49 57
  2016            13009       $118,401    $741,121                            $859,522       $66
  2018           12,984      $1,609,324   $120,603            -$216,962      $1,512,965     $117
  2019           14,192      $1,609,324   $112,363                           $1,721,687     $121
  2020           15,817       $611,951    $127,690                            $739,641       $47



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                                          403(b) Plan
              Participants       RK Direct       RK Indirect             Total Comp          $PP
 2016            12304            $117,034         $775,118               $892,152            $73
 2018            13370           $1,633,815        $144,349              $1,778,164          $133
 2019            14227           $1,633,815         $39,327              $1,673,142          $118
 2020            15439            $641,949          $41,304               $683,253            $44

        83.      The devastating effect of unchecked recordkeeping and administration fees is seen

clearly here. As detailed above, the per participant charge ranged from a high of $133 per

participant in 2018 to a low of $44 per participant in 2020. Incomplete data was available for 2017,

but similar results are expected for that year once a full set of data is available. A prudent fiduciary

would have understood these fees to be excessive and taken corrective action by seeking lower

cost administrative and recordkeeping alternatives.

        84.      The Plans should be treated as a single Plan for purposes of negotiating

recordkeeping and fund fees. The Defendants refer to both the 401(a) Plan and the 403(b) Plan as

being Dartmouth’s “Retirement Program.” 2020 Auditor Report for the 403(b) Plan at 5. In

addition, Plan participant statements provide information on the 401(a) Plan and the 403(b) Plan

in a single columnar format. Further, the Plans have the same recordkeeper and a nearly identical

fund line up for investment by the Plans’ participants.

        85.      By way of comparison, we can look at what other plans are paying for

recordkeeping and administrative costs.

        86.      The recordkeeper throughout the Class Period was T. Rowe Price. At all times

during the Class Period, the Plans had over 25,000 participants and over $1.2 billion dollars in

assets under management. As of 2020, the Plan had over 30,000 participants and over $1.9 billion

dollars in assets under management making it eligible for some of the lowest fees on the market.

        87.      Let’s start with what another major recordkeeper in the marketplace, Fidelity,

would pay if it were in Defendants’ shoes. In a recent lawsuit where Fidelity’s multi-billion dollar

plan with over 58,000 participants was sued, the “parties [] stipulated that if Fidelity were a third
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party negotiating this fee structure at arms-length, the value of services would range from $14-$21

per person per year over the class period, and that the recordkeeping services provided by Fidelity

to this Plan are not more valuable than those received by other plans of over $1,000,000,000 in

assets where Fidelity is the recordkeeper.” Moitoso et al. v. FMR, et al., 451 F.Supp.3d 189, 214

(D.Mass. 2020).

       88.     Specifically, Fidelity stipulated as follows:

       The value of the recordkeeping services that Fidelity provided to the Plan in 2014 was $21
       per participant; the value of the recordkeeping services that Fidelity provided to the Plan
       in 2015 and 2016 was $17 per participant, per year; and the value of the recordkeeping
       services that Fidelity has provided to the Plan since January 1, 2017 is $14 per
       participant, per year. Had the Plan been a third-party plan that negotiated a fixed fee for
       recordkeeping services at arm’s length with Fidelity, it could have obtained recordkeeping
       services for these amounts during these periods. The Plan did not receive any broader or
       more valuable recordkeeping services from Fidelity than the services received by any
       other Fidelity-recordkept plan with at least $1 billion in assets during the Class Period
       (November 18, 2014 to the present).

Moitoso, No. 1:18-cv-12122-WGY, ECF 138-67, ¶ 2 (emphasis added).

       89.     The Plans’ demographics matches favorably with the Fidelity plan’s demographics

demonstrating the Plan fiduciaries could have negotiated for recordkeeping and administration

fees as low as $14 and up to $21 per participant in recordkeeping and administration fees.

       90.     Looking at recordkeeping costs for other plans of a similar size in 2019 shows that

the Plans were paying higher recordkeeping fees than its peers – an indication the Plans’ fiduciaries

failed to appreciate the prevailing circumstances surrounding recordkeeping and administration

fees. The chart below analyzes a few well managed plans having more than 30,000 participants

and approximately $3 billion dollars in assets under management:




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                           Comparable Plans’ R&A Fees Paid in 20199
                                                                               R&A
                                                                   Total      Costs on
                           Number of         Assets Under                                   Record-
         Plan Name                                                 R&A          Per-
                           Participants      Management                                     keeper
                                                                  Costs10     Participa
                                                                              nt Basis
                                                                                             Great-
     Deseret 401(k) Plan       34,938       $4,264,113,298       $773,763        $22
                                                                                             West
    The Dow Chemical
         Company
                               37,868      $10,913,979,302       $932,742        $25         Fidelity
    Employees’ Savings
            Plan
     The Savings and
      Investment Plan          35,927       $3,346,932,005       $977,116        $27       Vanguard
       [WPP Group]
    Danaher Corporation
       & Subsidiaries          33,116       $5,228,805,794      $1,124,994       $34         Fidelity
        Savings Plan
     The Rite Aid 401(k)                                                                     Alight
                               31,330       $2,668,142,111       $930,019        $30
            Plan                                                                            Financial

Thus, the Plans, with over 28,000 participants and over $1.6 billion dollars in assets in 2019, should

have been able to negotiate a recordkeeping cost in the low $20 range from the beginning of the

Class Period to the present.

          91.    Further, another source confirms the unreasonableness of the Plans’ total

recordkeeping costs. Some authorities cited in case law dating as far back as six years ago

recognized that reasonable rates for jumbo plans typically average around $35 per participant, with

costs coming down every day11. Thus, even the $35 mark is a conservative figure.



9
 Calculations are based on Form 5500 information filed by the respective plans for fiscal 2019,
which is the most recent year for which many plans’ Form 5500s are currently available.
10
  R&A costs in the chart are derived from Schedule C of the Form 5500s and reflect fees paid to
service providers with a service code of “15” and/or “64,” which signifies recordkeeping fees. See
Instructions for Form 5500 (2019) at pg. 27 (defining each service code), available at https://www
.dol.gov/sites/dolgov/files/EBSA/employers-and-advisers/plan-administration-and-compliance/
reporting-and-filing/form-5500/2019-instructions.pdf.
11
   Case law is in accord that large plans can bargain for low recordkeeping fees. See, e.g., Spano
v. Boeing, Case 06-743, Doc. 446, at 26 (S.D. Ill. Dec. 30, 2014) (plaintiffs’ expert opined market
rate of $37-$42, supported by defendants’ consultant’s stated market rate of $30.42-$45.42 and
                                                24
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       92.      Given the size of the Plans’ assets during the Class Period and total number of

participants, in addition to the general trend towards lower recordkeeping expenses in the

marketplace as a whole, the Plans could have obtained recordkeeping services that were

comparable to or superior to the typical services provided by the Plan’s recordkeeper at a lower

cost, specially, in the range of $14 to $35. Failure to do so resulted in millions of dollars of

damages to the Plan and its participants.

     (3)     Several of the Funds in the Plan had Lower Cost Better Performing
             Alternatives in the Same Investment Style

       93.      The Plan failed to replace several of the higher cost underperforming funds which

in 2020 housed over 139 million dollars in participant assets. These funds had 100s of nearly

identical lower cost alternatives during the Class Period. These funds are what’s known as actively

managed funds. As detailed in a well-respected investment journal: “[a]n actively managed

investment fund is a fund in which a manager or a management team makes decisions about how

to invest the fund’s money.12” Thus, the success or failure of an actively managed fund is linked

directly to the abilities of the managers involved.

       94.      Here, the performance of the Plans’ funds fell well short of acceptable industry

standards and they should have been replaced at the beginning of the Class Period or sooner.

Failure to do so, cost the Plans and its participants millions of dollars in lost opportunity and

revenue.




defendant obtaining fees of $32 after the class period); Spano, Doc. 562-2 (Jan 29, 2016)
(declaration that Boeing’s 401(k) plan recordkeeping fees have been $18 per participant for the
past two years); George, 641 F.3d at 798 (plaintiffs’ expert opined market rate of $20-$27 and
plan paid recork-keeper $43-$65); Gordon v. Mass Mutual, Case 13-30184; Doc. 107-2 at 10.4
(D.Mass. June 15, 2016). (401(k) fee settlement committing the Plan to pay not more than $35 per
participant for recordkeeping).

 https://www.thebalance.com/actively-vs-passively-managed-funds-453773 last accessed on
12

November 12, 2020.
                                            25
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        95.      There were, at least, hundreds of superior performing less expensive alternatives

available during the Class Period one of which should have been selected by the Plan.

        96.      The chart below choses one of these superior performing alternatives out of the

hundreds available for each fund and compares them to the underperforming funds currently in the

Plan:

                                            2021                                          2021
               Current Fund                 Exp        Active Lower Cost Alternative      Exp
                                            Ratio                                         Ratio

 T. Rowe Price Instl Small-Cap Stock       0.67 %         Vanguard Explorer Adm           0.30 %

                                                      American Funds Growth and Inc
  Harbor Diversified Intl All Cp Instl     0.80 %                                         0.33 %
                                                                 Port R6

        97.     Not only are the fees excessive as compared to the similar lower cost alternatives

discussed above but the suggested alternative funds outperformed all of the funds significantly.

The difference between the excessive fees paid for these underperforming funds and the suggested

alternatives represent more lost savings each year for plan participants and have been compounded

over the years. The underperformance of these funds as compared to the suggested alternatives

increases these damages exponentially. The underperformance of these funds is represented in the

chart below:

    Fund in the Plan          Benchmark              Lower Cost            Benchmark
                                                     Alternative            Relative
                                                                          3Y         5Y
    Harbor Diversified
     Intl All Cp Instl                                                   1.60%      0.76%
                            iShares MSCI
                             EAFE ETF
                                                American Funds           5.01%      2.73%
                                              Growth & Inc Port R6
   T. Rowe Price Instl
    Small-Cap Stock                                                      0.67%      0.21%
                               Vanguard
                               Small-Cap
                              Growth ETF
                                                Vanguard Explorer        0.71%      1.70%
                                                     Adm

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       98.      Not only were there 100s of better performing alternatives available for the two

funds discussed above but also one of the funds in the Plans had one of the worst performance

histories as compared to its peers.

       99.      The Templeton Global Bond R6 performed worse than 95% of its 356 peers at the

one-year mark, 94% worse than 327 of its peers at the 3-year mark and 89% worse that its 321

peers at the 5-year mark13.

       100.    Because a fiduciary must have the best interests of participants in mind,

performance is defined, not just on an actual return basis, but quantified on an absolute and relative

volatility basis which considers returns on a risk adjusted basis. Fiduciaries utilize Modern

Portfolio Theory or a nearly identical methodology (MPT) to make such assessments and the

Committee utterly failed to select prudent investments for the Plans based on several criteria under

the MPT.

       101.    Modern trust law and those who have a legal fiduciary duty to choose and review

investments on behalf of others, apply the tools of Modern Portfolio Theory or a nearly identical

methodology in evaluating a trustee’s or fiduciary’s investment choices and overall strategy. UPIA

§ 2(b) (Unif. Law Comm’n 1995); Restatement (Third) of Trusts § 90(a) (2007) (“This standard

requires the exercise of reasonable care, skill, and caution, and is to be applied to investments not

in isolation but in the context of the trust portfolio and as a part of an overall investment strategy,

which should incorporate risk and return objectives reasonably suitable to the trust.”). See Birse v.

CenturyLink, Inc., 2019 WL 9467530, * 5 (D. Col. Oct. 23, 2019).




13
   This data is taken from a nationally recognized proprietary database used by retirement plan
analysts to determine the prudence of funds offered in a particular retirement plan. This database
utilizes Modern Portfolio Theory or MPT, as discussed below, to determine if a fund in a
particular plan has statistically identical counterparts and if so, how the fund in the Plan ranks
against those alternatives as listed here.
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       102.    Had MPT theory or a nearly identical methodology been properly utilized these

funds would not have been selected. The goal of MPT theory is to select funds that are among the

best in their class, and, accordingly, one would expect to see a fund with the lowest possible

expense ratio available and which performed in the upper tier of its class. Even if the Defendants

relied on the added excessive expensive ratios to pay for administrative and recordkeeping fees, a

prudent fiduciary utilizing MPT appropriately would have to negotiate the lowest possible

administrative and recordkeeping costs and charged only those costs, and nothing more, directly

to participants or the Plans.

       103.     A prudent fiduciary should have been aware of these better preforming lower cost

alternatives and switched to them at the beginning of the Class Period. Failure to do so is a clear

indication that the Plans lacked any prudent process whatsoever for monitoring the cost and

performance of the funds in the Plans.

                                    FIRST CLAIM FOR RELIEF
                                Breaches of Fiduciary Duty of Prudence
                                   (Asserted against the Committee)

       104.    Plaintiffs re-allege and incorporate herein by reference all prior allegations in this

Complaint as if fully set forth herein.

       105.    At all relevant times, the Committee and its members during the Class Period

(“Prudence Defendants”) were fiduciaries of the Plans within the meaning of ERISA § 3(21)(A),

29 U.S.C. § 1002(21)(A), in that they exercised discretionary authority or control over the

administration and/or management of the Plans or disposition of the Plans’ assets.

       106.    As fiduciaries of the Plan, these Defendants were subject to the fiduciary duties

imposed by ERISA § 404(a), 29 U.S.C. § 1104(a). These fiduciary duties included managing the

assets of the Plan for the sole and exclusive benefit of the Plans’ participants and beneficiaries,

and acting with the care, skill, diligence, and prudence under the circumstances that a prudent



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person acting in a like capacity and familiar with such matters would use in the conduct of an

enterprise of like character and with like aims.

       107.    The Prudence Defendants breached these fiduciary duties in multiple respects as

discussed throughout this Complaint such as failing to make decisions regarding the Plans’

recordkeeping and administration fees and expense ratios of a handful of Plan investments.

       108.    The failure to engage in an appropriate and prudent process resulted in saddling the

Plans and its participants with excessive Plan recordkeeping and administration costs and

excessive expense ratios.

       109.    As a direct and proximate result of the breaches of fiduciary duties alleged herein,

the Plans suffered millions of dollars of losses due to excessive costs. Had Defendants complied

with their fiduciary obligations, the Plans would not have suffered these losses, and the Plans’

participants would have had more money available to them for their retirement.

       110.    Pursuant to 29 U.S.C. §§ 1109(a) and 1132(a)(2), the Prudence Defendants are

liable to restore to the Plans all losses caused by their breaches of fiduciary duties, and also must

restore any profits resulting from such breaches. In addition, Plaintiffs are entitled to equitable

relief and other appropriate relief for Defendants’ breaches as set forth in their Prayer for Relief.

       111.    The Prudence Defendants knowingly participated in each breach of the other

Defendants, knowing that such acts were a breach, enabled the other Defendants to commit

breaches by failing to lawfully discharge such Defendant’s own duties, and knew of the breaches

by the other Defendants and failed to make any reasonable and timely effort under the

circumstances to remedy the breaches. Accordingly, each Defendant is also liable for the breaches

of its co-fiduciaries under 29 U.S.C. § 1105(a).

                              SECOND CLAIM FOR RELIEF
                      Failure to Adequately Monitor Other Fiduciaries
                   (Asserted against Dartmouth and the Board Defendants)



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       112.         Plaintiffs re-allege and incorporate herein by reference all prior allegations in this

Complaint as if fully set forth herein.

       113.         Dartmouth and the Board Defendants (the “Monitoring Defendants”) had the

authority to appoint and remove members of the Committee, and the duty to monitor the

Committee and were aware that the Committee Defendants had critical responsibilities as

fiduciaries of the Plans.

       114.         In light of this authority, the Monitoring Defendants had a duty to monitor the

Committee Defendants to ensure that the Committee Defendants were adequately performing their

fiduciary obligations, and to take prompt and effective action to protect the Plans in the event that

the Committee Defendants were not fulfilling those duties.

       115.         The Monitoring Defendants also had a duty to ensure that the Committee

Defendants possessed the needed qualifications and experience to carry out their duties; had

adequate financial resources and information; maintained adequate records of the information on

which they based their decisions and analysis with respect to the Plans’ investments; and reported

regularly to the Monitoring Defendants.

       116.         The Monitoring Defendants breached their fiduciary monitoring duties by, among

other things:

              (a)       Failing to monitor and evaluate the performance of the Committee Defendants

                        or have a system in place for doing so, standing idly by as the Plans suffered

                        significant losses as a result of the Committee Defendants’ imprudent actions

                        and omissions;

              (b)       failing to monitor the processes by which the Plans investments were

                        evaluated; and

              (c)       failing to remove Committee members whose performance was inadequate in

                        that they continued to maintain imprudent, excessively costly, and poorly
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                     performing investments within the Plans and pay exorbitant fees for the Plan’s

                     recordkeeping and administration, all to the detriment of the Plan and Plan

                     participants’ retirement savings.

        117.    As a consequence of the foregoing breaches of the duty to monitor, the Plans

suffered millions of dollars of losses. Had the Monitoring Defendants complied with their

fiduciary obligations, the Plans would not have suffered these losses, and the Plans’ participants

would have had more money available to them for their retirement.

        118.    Pursuant to 29 U.S.C. §§ 1109(a) and 1132(a)(2), the Monitoring Defendants are

liable to restore to the Plan all losses caused by their failure to adequately monitor the Committee

Defendants. In addition, Plaintiffs are entitled to equitable relief and other appropriate relief as set

forth in their Prayer for Relief.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray that judgment be entered against Defendants on all claims

and requests that the Court award the following relief:

               A.       A determination that this action may proceed as a class action

        under Rule 23(b)(1), or in the alternative, Rule 23(b)(2) of the Federal Rules of

        Civil Procedure;

               B.       Designation of Plaintiffs as Class Representatives and designation

        of Plaintiff’s counsel as Class Counsel;

               C.       A Declaration that the Defendants, and each of them, have

        breached their fiduciary duties under ERISA;

               D.       An Order compelling the Defendants to make good to the Plans all

        losses to the Plan resulting from Defendants’ breaches of their fiduciary duties,

        including losses to the Plans resulting from imprudent investment of the Plans’

        assets, and to restore to the Plans all profits the Defendants made through use of
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      the Plans’ assets, and to restore to the Plans all profits which the participants

      would have made if the Defendants had fulfilled their fiduciary obligations;

            E.       An order requiring the Company Defendants to disgorge all profits

      received from, or in respect of, the Plans, and/or equitable relief pursuant to 29

      U.S.C. § 1132(a)(3) in the form of an accounting for profits, imposition of a

      constructive trust, or a surcharge against the Company Defendant as necessary to

      effectuate said relief, and to prevent the Company Defendant’s unjust enrichment;

            F.       Actual damages in the amount of any losses the Plans suffered, to

      be allocated among the participants’ individual accounts in proportion to the

      accounts’ losses;

            G.       An order enjoining Defendants from any further violations of their

      ERISA fiduciary responsibilities, obligations, and duties;

            H.       Other equitable relief to redress Defendants’ illegal practices and

      to enforce the provisions of ERISA as may be appropriate, including appointment

      of an independent fiduciary or fiduciaries to run the Plans and removal of the

      Plans’ fiduciaries deemed to have breached their fiduciary duties;

            I.       An award of pre-judgment interest;

            J.       An award of costs pursuant to 29 U.S.C. § 1132(g);

            K.       An award of attorneys’ fees pursuant to 29 U.S.C. § 1132(g) and

      the common fund doctrine; and

            L.       Such other and further relief as the Court deems equitable and just.



Dated: March 18, 2022                       GAWRYL & MACALLISTER

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